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                          EXHIBIT 3
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STATE OF
MOBILE 2022


data.ai
                                                      Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 3 of 74 Page ID #:855




                                                                            EXECUTIVE SUMMARY



                                2021 Mobile Landscape at a Glance

    New App                             App Store                                Daily Time Spent                                    Mobile            Number of Apps
    Downloads                            Spend                                       Per User                                       Ad Spend           >$100M Spend


230B                             $170B                                       4.8 Hrs                                         $295B                       233

           +5%                                +19%                                         +30%                                           +23%                  +20%

      YoY Growth                          YoY Growth                                    2Y Growth                                    YoY Growth              YoY Growth
iOS, Google Play, Third-Party       iOS, Google Play, Third-Party                  Android Phones; Weighted                                              iOS, Google Play, Apps
      Android in China                    Android in China                       Average Among Top 10 Mobile-                                                  and Games
                                                                                         First Markets


> 435,000 apps                    >$320,000 spent per                                  1/3 of daily                             would be #41 largest     As compared to
downloaded per                       minute in 2021                                   waking hours                             country ranked among    only 38 Movies with
 minute in 2021                                                                                                                  global economies      > $100M global Box
                                                                                                                                                         Office Proceeds
                                                                                                                                                              in 2021




                                                                                                                                                                                  2
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Contents
 Macro Mobile Trends
 Gaming
 Finance
 Retail
 Video Streaming
 Food & Drink
 Health & Fitness
 Social
 Travel
 Dating
 Other Industries Embracing Mobile
 Top App & Games of 2021
                                                                                                               Dive deeper into the insights contained in this report
                                                                                                    by exploring directly in data.ai Intelligence. Each slide contains
                                                                                                      links to view the data in expanded markets and trended over
                                                                                                           time. For Access to data.ai Intelligence, reach out today.
                                                                                                             This report is interactive. For the best user experience,
                                                                                                                                     please view in your web browser.
                                                                                                                                                                         3
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                                        data.ai


A Few of Our Amazing Customers




                                                                                       4
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Macro Mobile
Trends
                                                                                Our partnership with data.ai has helped
                                                                                  us better navigate the gaming market,
                                                                               providing us insight and assistance in the
                                                                                  decision-making process. Our favorite
                                                                                        has to be Game IQ's pioneering
                                                                                capability to present a clearer picture of
                                                                                   our clientele and allow us to create a
                                                                                                  tailor-made experience.


                                                                                                                                         Matt Liu
                                                                                              Global Publishing & Marketing Vice General Manager
                                                                                                                                  NetEase Games




                                                                                                                                                    5
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MACRO MOBILE TRENDS                                                                                            Average Hours Spent on Mobile Per Day Per User

                                                                             5.5

Mobile-First Markets                                                         5.0


Spend 1/3 of Waking                                                          4.5


Hours on Mobile
                                                                             4.0

                                                                             3.5

Across the top 10 markets analyzed, the weighted                             3.0
average surpassed 4 hours 48 minutes in 2021 —                               2.5
up 30% from 2019.
                                                                             2.0
Users in Brazil, Indonesia and South Korea surpassed
                                                                             1.5
5 hours per day in mobile apps in 2021.
                                                                             1.0
The average American watched 3.1 hours of TV a day,
whereas they spent 4.1 hours on their mobile device                          0.5
in 2021.
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Mobile usage estimates highlight growth sectors


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to inform strategic roadmap and investment priorities.


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Know where to make strategic decisions: advertising




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spend, corporate prioritization and resource allocation
follow the eyeballs — and they are on mobile.                                                                                           2019          2020          2021


                                                                                                                                                Source: data.ai
                                                                                                                                             Note: Android phones




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                                                                                          Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 8 of 74 Page ID #:860




                                                                                                                                                                       MACRO MOBILE TRENDS
                                                    Top 20 Mobile Markets in 2021


         Downloads
           Downloads                                    Downloads                           Consumer Spend                           Hours
                                                                                                                                                                       Globally 230
100B                                          11B
                                                                                                                                                                       Billion Downloads,
90B                                           10B                                                                                                                      $170 Billion in
80B

70B
                                              9B
                                              8B                                                                                                                       Consumer Spend,
60B
                                              7B
                                              6B
                                                                                                                                                                       3.8 Trillion Hours
50B
                                              5B                                                                                                                       The US has seen phenomenal growth in consumer
40B                                                                                                                                                                    spend, adding an additional $43 billion in 2021, $10.4
                                              4B
30B                                                                                                                                                                    billion more than 2020, equating to 30% growth YoY as
                                              3B                                                                                                                       mobile gaming and in-app subscriptions go mainstream.
20B                                           2B
10B                                           1B                                                                                                                       Emerging markets dominate for downloads growth
                                                                                                                                                                       with India seeing standout downloads. Pakistan, Peru,
0                                             0
                                                                                                                                                                       Philippines, Vietnam, Indonesia and Egypt were among
                                                                                                                                                                       the fastest growing markets for downloads at 25%, 25%,
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                                                                                                                                                                       25%, 20% 15% and 15% growth YoY, respectively.




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                                                                                                                                                                       Mobile adoption boomed in 2021, with growth across
       2019      2020          2021                                                       2019           2020            2021
                                                                                                                                                                       downloads, usage and app store consumer spend.
                                                                                                                                                                       Size the market and keep tabs on fast-growing areas
                                                                      Source: data.ai                                                                                  of opportunity in data.ai.
                          Note: Downloads across iOS, Google Play and third-party Android in China combined; Time spent is Android
                                       phones only; Spend is gross — inclusive of any percent taken by the app stores



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                                                                                     Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 9 of 74 Page ID #:861




                                              Hours Spent in Apps by Category                                                                                     MACRO MOBILE TRENDS




                                                                                                                                                                  7 of Every 10 Minutes
                                                           Worldwide
                                                             Worldwide




                                                                                                                                                                  on Mobile Was Spent
1T

0.9T

0.8T                                                                                                                                                              in Social and Photo
0.7T
                                                                                                                                                                  & Video Apps in 2021
0.6T

0.5T                                                                                                                                                              As time increases on mobile in emerging categories,
                                                                                                                                                                  consumers are also engaging deeper in early-mover
0.4T                                                                                                                                                              categories like Social, Communication and Photo & Video
                                                                                                                                                                  apps.
0.3T

0.2T                                                                                                                                                              While Photo & Video apps (e.g. YouTube and TikTok)
                                                                                                                                                                  have seen an increase in market share of time spent, this
0.1T                                                                                                                                                              has largely not been at the expense of current habits.
                                                                                                                                                                  Rather, consumers have turned historically 'non-mobile'
0
                                                                                                                                                                  time into time spent in apps and games.
           1Q


                  2Q


                           3Q


                                  4Q


                                           1Q


                                                  2Q


                                                           3Q


                                                                   4Q


                                                                              1Q


                                                                                        2Q


                                                                                                3Q


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                                                                                                                                                                  The pandemic accelerated existing mobile habits, which
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                                                                                                                                                                  have solidified in 2021. While social dominates for time
                       Social & Communication          Photo & Video            Games           Entertainment         Others                                      spent globally, regional differences in app preferences
                                                                                                                                                                  highlight unique market differences. Discover local
                                                                                                                                                                  trends in data.ai.
                                                                 Source: data.ai
                                                              Note: Android phones




                                                                                                                                                                                                                              8
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                                                                                                                                    Cumulative Number of Apps Released by Store
MACRO MOBILE TRENDS

                                                                                                                            22M

Mobile Ecosystem Healthier                                                                                                  20M

Than Ever: Publishers Released                                                                                              18M

2 Million New Apps & Games                                                                                                  16M

in 2021                                                                                                                     14M

This brings the total of apps and games ever released on iOS and Google                                                     12M
Play to over 21 million.
                                                                                                                            10M
Google Play accounted for 77% of all apps and games releases in 2021.
Across both iOS and Google Play, Games represented 15% of all new                                                           8M
releases in 2021. The remaining 85% of new apps span all categories of the
app stores, from mobile-first movers like social to mobile-forced industries
                                                                                                                            6M
like insurance and healthcare.
                                                                                                                            4M
Apps are also removed and phased out overtime to leave the current live
apps and games available to download on the app stores at 5.4 million (1.8                                                  2M
million on iOS and 3.6 million on Google Play).
                                                                                                                            0
With smartphones providing unparalleled reach and access to billions                                                               2011 2012 2013 2014 2015 2016 2017 2018 2019 2020 2021
of consumers worldwide, every industry is a mobile-focused industry —
New app releases illustrates the demand for engaging customers                                                                                                   iOS          Google Play
on mobile. Keep tabs on the rapidly-changing competitive landscape
with data.ai.                                                                                                                           Source: data.ai. Note: Number of apps released as of December 2021. Release
                                                                                                                                        date is based on app metadata on iOS App Store or Google Play in any country



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                                                                                                                Number of Apps Surpassing $100 Million
MACRO MOBILE TRENDS                                                                                               in Annual Global Consumer Spend


233 Apps & Games                                                            250



Generated Over
$100 Million Dollars
                                                                            200



Annually in 2021                                                            150

Consumers migrated more of their entertainment and
games consumption onto mobile. In 2021, there were
over 230 apps and games surpassing $100M in annual                          100
consumer spend, with 13 of them surpassing $1 Billion.

This was up 20% from 2020 at 193 apps and games




                                                                                                                                                                                                           4 71
over $100M in annual spend, and only 8 over $1 Billion.                     50




                                                                                                                                                                                                   8 51
                                                                                                                                                                                           1 41
Improved connectivity, screen size and hardware




                                                                                                                                                                                611
                                                                                                                                                                7 8 41
have made it easier than ever before to enjoy premium




                                                                                                                                               76
                                                                                                                              73
                                                                                                               82




                                                                                                                                                                                                           95
                                                                                                                                                                                                   53
                                                                                                                                                                                           72
                                                                                                                                                                                81
                                                                            0




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applications & gaming experiences on-the-go.
Consumers, consequently, migrated share of wallet                                   2012        2013         2014          2015             2016            2017             2018         2019    2020    2021
to mobile as the de facto gaming console and tool
for managing our lives. View top grossing apps                                                                                        Applications             Games
in data.ai.
                                                                                                                                             Source: data.ai
                                                                                                                Note: Consumer Spend across iOS, Google Play, iOS only for China; Spend
                                                                                                                       is gross — inclusive of any percent taken by the app stores


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                                                                                       Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 12 of 74 Page ID #:864



                                   Average Age Group Index Among Top Apps Per Category
                                                 Index >100 Skews Towards Demographic Group

                                                                      United  States
                                                                         United States
                                                                                                                                                                    MACRO MOBILE TRENDS: DEMOGRAPHICS



200

150
                                                                                                                                                                    Gen Z is a Mobile
100
                                                                                                                                                                    Social & Video First
50                                                                                                                                                                  Generation
                                                                                                                                                                    Apps in categories that are already highly relevant
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                                                                                                                                                                    engagement, including Photo & Video, Entertainment,
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                                                                                                                                                                    and Social.
                                                   Gen Z          Millennials          Gen X & Baby Boomers
                                                                                                                                                                    Finance and Shopping apps haven’t managed to
                                                    Top Apps by MAU by Likelihood of Use                                                                            reach a broad Gen Z audience, but these categories
                                                                                                                                                                    have experienced strong growth YoY and represent
                                                                                                                                                                    a promising area for investment. These categories tend to
       Gen Z                              Millennials                                                    Gen X & Baby Boomers
                                                                                                                                                                    skew more towards Millennials at this stage.
 1                 Instagram                               Facebook                                                   BOM Weather

 2                 Spotify                                 Facebook Messenger                                         Check In Qld                                  Mobile data unearths opportunities for reaching Gen Z:
                                                                                                                                                                    whether its an underserved market or a highly-engaged
 3                 Netﬂix                                  WhatsApp Messenger                                         Service Victoria                              vertical to leverage. Uncover how app preferences
                                                                                                                                                                    change by generation in data.ai.
 4                 Snapchat                                eBay                                                       Stocard

                                    Source: data.ai Note: 2021, Android phones; Average of Top 20 apps by MAU per category; Gen Z
                                     represented by those aged 16 -24; Millennials represented by those aged 25-44; Gen X and Baby
                                                                 Boomers represented by those aged 45+

                                                                                                                                                                                                                                11
                                                                                                 Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 13 of 74 Page ID #:865



                                 Average Gender Group Index Among Top Apps Per Category                                                                                        MACRO MOBILE TRENDS: DEMOGRAPHICS
                                                Index >100 Skews Towards Demographic Group

                                                                       United  States
                                                                          United States
                                                                                                                                                                               Market Differences
150
                                                                                                                                                                               Emerge by Gender
                                                                                                                                                                               Based on App
                                                                                                                                                                               Category
100



50
                                                                                                                                                                               Sports apps overindex heavily with males in each market
                                                                                                                                                                               analyzed, whereas Food & Drink apps tend to skew more
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                                                                                                                                                                               markets like Japan.
                                                                            Male            Female
                                                                                                                                                                               We also see that the most used apps in each country
                                                                                                                                                                               tend to buck category. For instance, Shopping apps on
                                                       Top Apps by MAU by Likelihood of Use                                                                                    the whole tend to skew more female overall, yet Amazon
                                                                                                                                                                               skews more male in Japan, the UK, Germany, France and
          Male                                                                                   Female                                                                        Canada. Only in the US does Amazon skew more female.
 1                        WhatsApp Messenger                                                                 Facebook
                                                                                                                                                                               Our analysis is limited to males and females only and is
 2                        eBay                                                                               Facebook Messenger                                                not representative of all gender identities.

 3                        CommBank                                                                           Instagram                                                         Mobile demographic data gives you a benchmark for
                                                                                                                                                                               your industry and allows you to spot differences in your
 4                        Microsoft Outlook                                                                  Spotify                                                           and your competitor's audience, which can be critical
                                                                                                                                                                               for user acquisition. View demographics splits in
                                      Source: data.ai Note: 2021, Android phones; Average of Top 20 apps by MAU per category; Gender                                           data.ai.
                                            represented as Male and Female only and is not representative of all gender identities


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                Global Mobile Ad Spend
                                                                                           MACRO MOBILE TRENDS: ADVERTISING

                                                     4-YR CAGR:

                                                    22.6%
                                                                                           Despite IDFA Fears, Dollars
$400B




$350B                                                  $350B                               Flocked to Mobile Ads —
$300B
                                                                                           Topping $295B in 2021,
                                                                                           up 23% YoY and Poised
                                          $295B



$250B
                              $240B                                                        to Hit $350B in 2022
$200B
                                                                                           Mobile is driving digital ad spend globally. Amidst an economic rebound
                $190B                                                                      with GDP up 5.9% in 2021, cyclical events like the Tokyo Olympics and UEFA
                                                                                           Euro Tournament, and engrained mobile habits, ad dollars flowed to mobile
        $155B                                                                              as the primary and captive channel for engaging consumers — representing
$150B
                                                                                           70% of digital spend.

                                                                                           With the Beijing Olympics in 2022 and US mid-term elections, digital
$100B                                                                                      ad spend is set to be robust with the majority driven by mobile. Brand
                                                                                           marketing vs performance marketing is set to pick up as businesses and
                                                                                           brands capitalize on mobile's broad and captive audience amidst the
$50B                                                                                       backdrop of IDFA deprecation.

                                                                                           Monitor the changing best practices in mobile advertising, pinpoint
0                                                                                          ad creatives are performing best and decode the growth strategies
        2018     2019           2020       2021         2022F                              of the leaders in the mobile user acquisition. Uncover advertising
                                                                                           insights in data.ai.
                        Source: data.ai



                                                                                                                                                                        13
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MACRO MOBILE TRENDS: APP STORE OPTIMIZATION



The Most Searched iOS App Store Keywords in 2021
                                                                                                                      Business
                                                                                                                        Business



Rank Australia             Brazil               Canada           China France         Germany           India                Indonesia Japan               Mexico       Russia       South   Turkey     United  United States
                                                                                                                                                                                     Korea              Kingdom
                           google                                boss                                                                                                                                   scanner
1         australia        meet                 job              直聘     scanner       teams             whatsapp+            zoom        zoom              zoom         zoom         zoom    edevlet    app        zoom

                                                                 企查                                                          google                                     почта                                      microsoft
2         seek             zoom                 zoom             查      zoom          zoom              zoom                 meet        yahoo             meetings     россии       줌       türkiye    zoom       teams
          australia                                              天眼
3         post             meet                 linkedin         查      teams         scanner app       google meet          meet        teams             meet         hh.ru        알바몬     zoom       teams      indeed

                                                                 腾讯                                     whatsapp                                           google                    알바천
4         job              claro                indeed           会议     linkedin      pdf scanner       business             meetings    やふ ー              meet         зум          국       linkedin   scanner    teams

                                                                 阿里                 scanner app         call recorder for                                                                               microsoft microsoft
5         zoom             linkedin             teams            云      pôle emploi kostenlos           iphone free          pdf         やふー               teams        сканер       한글      ışkur
                                                                                                                                                                                              ̇         teams     authenticator
                                                canada                                                                                                     microsoft    леруа                           scanner
6         linkedin         meetings             post             wps    camscanner autoscout24          scanner              linkedin    やふー               teams        мерлен       알바      stream     app free   duo mobile

                                                microsoft        企业                   microsoft                                          まいなぽいん
7         jobs             teams                teams            微信     indeed        teams             teams                pln         とアプリ              pdf          мой налог    사람인     meetings linkedin     linkedin

          microsoft        vagas de                                     whatsapp      microsoft                                                                                      블라인
8         teams            emprego              chat             顺丰     business      authenticator     linkedin             jobstreet   ずーむ               linkedin     лукойл       드       meet       indeed     google meet

                                                google           今日                                                                      zoom アプリ                                                       cam        the zoom app
9         xero             minha claro          meet             头条     pdf           linkedin          zoom meeting         scanner     無料                stream       teams        pdf     teams      scanner    for iphone
                                                                                                        scanner for                      zoom アプリ                       сканер                          uber
10        teams            cpf                  services         钉钉     ornikar       pdf               iphone               jne         無料                chat         документов   스캔      pdf        driver     scanner app



Uncover trends in App Store Optimization (ASO) in and competitive insights on app store
search traffic, keyword rankings and paid app store search ads in data.ai.
Source: data.ai Note: iPhones; ranked by average Search Volume



                                                                                                                                                                                                                                  14
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Gaming
                                                                                   Jam City's business has experienced
                                                                                   terrific growth over the years and we
                                                                              head into 2022 with billions in aggregate
                                                                                lifetime revenue and tens of millions of
                                                                                   players around the world. data.ai has
                                                                              remained a valued partner whose market
                                                                                 intelligence platform provides industry
                                                                                benchmarking and competitive insights
                                                                               across the mobile ecosystem which our
                                                                                        team uses daily to help drive our
                                                                                               continued success at scale.

                                                                                                                  Josh Yguado
                                                                                                            President and COO
                                                                                                                       Jam City




                                                                                                                                  15
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GAMING
                                                                                                                                                     Mobile Game Consumer Spend Growth


Additional $16 Billion                                                                                                                                                     Worldwide
                                                                                                                                                                             Worldwide



in Gaming Consumer                                                                                                $120B
                                                                                                                  $100B                                                                                                  $15.49B

Spend was Added                                                                                                   $80B
                                                                                                                                                                                        $14.70B




                                                                              ) D S U( d n e p S r e m us n o C
                                                                                                                                                       $12.03B

in 2021, Bringing Total
                                                                                                                  $60B
                                                                                                                                                                                                                                                    $116.01B
                                                                                                                  $40B
                                                                                                                          $73.79B

to $116 Billion                                                                                                   $20B
                                                                                                                  0
                                                                                                                            2018                2018-2019 Growth                2019-2020 Growth                 2020-2021 Growth                    2021
In 2021, hit games such as Roblox and Genshin Impact
saw further growth in consumer spend as mobile games
are now capable of offering console-like graphics and                                                                                                      Mobile Game Downloads Growth
gameplay experiences. The gaming scene in China has
seen renewed excitement over the release of Harry
                                                                                                                                                                           Worldwide
                                                                                                                                                                             Worldwide
Potter Magic Awakened and League of Legends: Wild Rift
in H2 2021, and we expect these to further occupy the
top revenue charts in the coming months and further add
                                                                                                                  80B                                                                                                    3.03B
to global mobile gaming growth.
                                                                                                                                                                                        11.90B
                                                                                                                  60B                                 4.34B
Hypercasual games like Bridge Race and Hair Challenge

                                                                              )s n oilli M( s d a ol n w o D
were key downloads driver, but 2021 saw some well                                                                 40B                                                                                                                               82.98B
known IPs such as Pokémon UNITE, and PUBG: NEW                                                                            63.71B
STATE making major gains in downloads and usage.                                                                  20B

                                                                                                                  0
Mobile game sustained strong momentum from                                                                                2018                2018-2019 Growth                 2019-2020 Growth                 2020-2021 Growth                     2021
pandemic surge — 2021 in gaming was as dynamic
as any previous year. The time to act is now.                                                                                       Source: data.ai Note: Downloads across iOS, Google Play and third-party Android in China combined; Time spent
                                                                                                                                               is Android phones only; Spend is gross — inclusive of any percent taken by the app stores

                                                                                                                                                                                                                                                               16
                                                                                         Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 18 of 74 Page ID #:870


GAMING



2021 Breakout Rankings by Market | Games
                                                                                                             AMERAMER
                                                                                                                  - Breakout
                                                                                                                      - BreakoutDownloads
                                                                                                                                Downloads


            Worldwide                    United States                     Canada                     Mexico                   Brazil               Argentina                 Colombia            Chile                 Peru



 1

           Bridge Race                     High Heels                    High Heels             Crash Bandicoot: On        Hair Challenge         Count Masters               Bridge Race      Bridge Race           Bridge Race
                                                                                                      the Run



 2

          Hair Challenge               Project Makeover                Count Masters                Bridge Race           Phone Case DIY         Phone Case DIY           Count Masters     DOP 2: Delete One       Count Masters
                                                                                                                                                                                                   Part



 3

          Count Masters                   Bridge Race                  Hair Challenge             Hair Challenge        Crash Bandicoot: On        Bridge Race           Hair Challenge      Hair Challenge      My Talking Angela 2
                                                                                                                              the Run



 4

         Phone Case DIY                    Paper Fold                    Bridge Race              Phone Case DIY         League of Legends:     DOP 2: Delete One             Going Balls    Phone Case DIY        Hair Challenge
                                                                                                                              Wild Rift                Part


 5

            High Heels                   Count Masters               Project Makeover             Count Masters             Sculpt people         Fidget Toys 3D              High Heels      Sculpt people     Fidget Toys Trading 3D


Learn More: Uncover the Top Games by Change in Yearly Downloads
Source: data.ai Note: Top Apps by year-over-year Downloads, Consumer Spend and Average Active
User Growth across iOS, Google Play. MAU Growth on iPhones and Android Phones

                                                                                                                                                                                                                                         17
                                                                                            Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 19 of 74 Page ID #:871


GAMING



Astronomical Rise of Hypercasual: Innovation & Shifting Player
Preferences Gave Way to Emerging Game Genres
Yearly Evolution of Top Genres by Downloads                                                                                              Worldwide | Top Gaming Subgenres & Top Games by Downloads
2021 Top Genres 2021's Top Genres in 2011                                           2011 Top Genres
                                                                                                                                                                                                2021
                                                                                                                                                                                                  2021
5B
                                                                                                       Action (Hypercasual)
                                                                                                       Puzzle (Hypercasual)              Action (Hypercasual)                                                           4.01B   Hair Challenge
                                                                                                       Simulation (Hypercasual)
                                                                                                       Kids (Other)                      Puzzle (Hypercasual)                                                       3.78B       Water Sort Puzzle
3B
                                                                                                       Driving (Simulation)
                                                                                                       .io (Hypercasual)                          Simulation…                                              3.15B                Phone Case DIY
                                                                                                       Runner (Action)
                                                                                                                                                  Kids (Other)                                     2.57B                        Toca Life: World
                                                                                                       Creative Sandbox
2B                                                                                                     (Simulation)                                                                                                             Extreme Car
                                                                                                                                           Driving (Simulation)                         1.63B
                                                                                                                                                                                                                                Driving Simulator
                                                                                                       Simulation Sports (Sports)
                                                                                                       Pet (Simulation)                      .io (Hypercasual)                       1.41B                                      Bridge Race
                                                                                                       PvE Shooting (Shooting)
                                                                                                       Word (Puzzle)                           Runner (Action)                  1.20B                                           Subway Surfers
1B
                                                                                                       Bubble Shooter (Match)
                                                                                                       Solitaire (Tabletop)               Creative Sandbox…                    1.12B                                            ROBLOX
                                                                                                       Physics (Puzzle)
                                                                                                                                           Simulation Sports…                  1.10B                                            8 Ball Pool
                                                                                                       Poker & Card (Casino)
0                                                                                                      Slicing (Action)                        Pet (Simulation)              0.90B
                                                                                                                                                                                                                                My Talking Tom
     2011 2012 2013 2014 2015 2016 2017 2018 2019 2020 2021                                                                                                                                                                     Friends
                                                                                                                                                              0         1B              2B          3B             4B
Analyze More Genres in data.ai's Game IQ Market Sizing Report
Source: data.ai Note: Downloads across iOS, Google Play. China is iOS only. Genre breakdown based
on data.ai's Game IQ Taxonomy as of January 7th, 2022
                                                                                                                                                                                                                                                    18
                                                                                            Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 20 of 74 Page ID #:872


GAMING



4x March-Battle Strategy Games Emerged
as the Most Monetizable Genre for Mobile Games
Yearly Evolution of Top Genres by Consumer Spend                                                                                         Worldwide | Top Gaming Subgenres & Top Games by Consumer Spend
2021 Top Genres 2021's Top Genres in 2011 2011 Top Genres                                                                                                                                   2021
                                                                                                                                                                                              2021


$10B
                                                                                                       4X March-Battle
                                                                                                       (Strategy)                        4X March-Battle…                                                     $9.70B    Rise of Kingdoms
                                                                                                       MMORPG (RPG)
$8B                                                                                                    Team Battle (RPG)                   MMORPG (RPG)                                               $8.43B            Lineage M
                                                                                                       Slots (Casino)
                                                                                                       M3-Meta (Match)                   Team Battle (RPG)                                           $8.02B             Fate/Grand Order
                                                                                                       Battle Royale (Shooting)
$6B                                                                                                                                           Slots (Casino)                              $5.57B                        Slotomania
                                                                                                       M3-Saga (Match)
                                                                                                       Puzzle RPG (RPG)
                                                                                                                                          M3-Meta (Match)                        $3.92B                                 Homescapes
                                                                                                       Simulation Sports (Sports)
$4B                                                                                                    Creative Sandbox                     Battle Royale…                      $3.63B                                  PUBG MOBILE
                                                                                                       (Simulation)
                                                                                                       Poker & Card (Casino)                                                                                            Candy Crush
                                                                                                                                          M3-Saga (Match)                 $2.82B
                                                                                                                                                                                                                        Saga
$2B                                                                                                    Word (Puzzle)
                                                                                                       Build Breed (Simulation)          Puzzle RPG (RPG)              $2.25B                                           Monster Strike
                                                                                                       Physics (Puzzle)
                                                                                                                                                                                                                        Professional
                                                                                                       PvE Shooting (Shooting)           Simulation Sport…             $2.18B
                                                                                                                                                                                                                        Baseball Spirits A
0
                                                                                                       Lane-Battle (Strategy)
                                                                                                                                          Creative Sandb…             $2.15B                                            ROBLOX
           11

                  21

                          31

                                  41

                                          51

                                                  61

                                                          71

                                                                  81

                                                                          91

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                                                                                                       Slicing (Action)
                                                                                 2
         02




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                     0




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                                                                                                                                                           0    $2B      $4B        $6B       $8B      $10B      $12B
Analyze More Genres in data.ai's Game IQ Market Sizing Report
Source: data.ai Note: Downloads across iOS, Google Play. China is iOS only. Genre breakdown based
on data.ai's Game IQ Taxonomy as of January 7th, 2022
                                                                                                                                                                                                                                             19
                                                                                         Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 21 of 74 Page ID #:873




                                     Average Age Group Index Among Select Subgenres
                                                 Index >100 Skews Towards Demographic Group                                                                               GAMING




                                                                                                                                                                          Party, Simulation,
                                                                     United States
                                                                       United States




                                                                                                                                                                          Shooters & RPG Skew
                                                    Gen Z           Millennials            Gen X & Boomers



                                                                                                                                                                          Towards Gen Z;
      200




      100                                                                                                                                                                 Match 3 & Puzzle
                                                                                                                                                                          Preferred By Older
                                                                                                                                                                          Age Groups
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                                                                                                                                                                          Gen Z gamers in the markets analyzed are around 2.0x
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                                                                                         B
                                                                                                                                                                          more likely to play Mafia/ Betrayal (Party) games such
                               Top Games by MAU Most Likely to Be Played by Age Group                                                                                     as Among Us!, while Gen X & Boomers in the US and UK
                                                                                                                                                                          are around 1.5x more likely to play Solitiare (Tabletop)
    Gen Z                                                          Millennials                                        Gen X & Baby Boomers                                games compared to the average population.

1           ROBLOX                 Creative Sandbox                         Project             M3-Meta                        Candy Crush               M3-Saga
                                   (Simulation)                             Makeover            (Match)                        Saga                      (Match)          Understanding demographics segmentation can help
                                                                                                Luck Battle                                              Word             you build out marketing campaigns and partnerships
2           Among Us!              Maﬁa/Betrayal (Party)                    Coin Master                                        Wordscapes
                                                                                                (Party)                                                  (Puzzle)         for games with demographics that match your target
3           Pokémon GO             Location RPG (RPG)                       Homescapes M3-Meta                                 New Words With            Word             audience. View the most used games by age group
                                                                                       (Match)                                 Friends                   (Puzzle)         in data.ai over time, by device and in different markets.

              Source: data.ai Note: 2021, iPhone and Android phones; Gen Z represented by those aged 16 -24; Millennials represented by those aged
                25-44; Gen X / Baby Boomers represented by those aged 45+; Average of Demographics Index (a measure of demographic cohort
                                        compared to the overall population) among top 10 apps by average MAU per Genre.



                                                                                                                                                                                                                                      20
                                                                                  Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 22 of 74 Page ID #:874



                               Average Gender Group Index Among Select Subgenres
                                           Index >100 Skews Towards Demographic Group
                                                                                                                                                               GAMING


                                                                                                                                                               Match 3 Games
                                                                 United States
                                                                   United States




                                                                                                                                                               Tend to Skew
                                                                    Male          Female

    150

                                                                                                                                                               Towards Female
    100
                                                                                                                                                               Audience, While
    50
                                                                                                                                                               Build-Battle Games
                                                                                                                                                               Skew Male
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                                                                                                                                                               around 1.3x more likely to use M3-Saga (Match) games,
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                                                                                                                                                               and male gamers in the US are 1.5x more likely
                                                                                                                                                               to play Build-Battle (Strategy) games than the general
                       Top Games by MAU Most Likely to Be Played by Gender Group
                                                                                                                                                               population.
    Male                                                                         Female
                                                                                                                                                               Not only are Among Us! and ROBLOX clear favorites
1            Pokémon GO                Location RPG (RPG)                                 ROBLOX                             Creative Sandbox (Simulation)     among Gen Z, they also have higher tendency to be
                                                                                                                                                               played by female audiences. Pokémon GO has enjoyed
2            Call of Duty: Mobile      Team Deathmatch (Shooting)                         Among Us!                          Maﬁa/Betrayal (Party)             widespread popularity globally, but tends to skew
                                                                                                                                                               towards a male audience.
3            Clash Royale              Summon-Battle (Strategy)                           Candy Crush Saga                   M3-Saga (Match)

                                                                                                                                                               data.ai's audience index can further show you where
                              Source: data.ai Note: 2021, iPhone and Android phones; Average of Demographics Index (a measure of                               the specific demographic group is engaging
                              demographic cohort compared to the overall population) among top 10 apps by average MAU per Genre
                                                                                                                                                               on mobile. Dive Deeper into Genre Demographics
                                                                                                                                                               in the Genre Summary Report.

                                                                                                                                                                                                                        21
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Finance
                                                             Consumers have shown how much they love the
                                                          convenience and control of our all-in-one shopping
                                                       app. From shopping inspiration and payment methods
                                                         to transparent banking, budgeting features and post-
                                                       purchase services, the Klarna app helps consumers to
                                                          save time and money at every step of the shopping
                                                          journey. With 70% of mobile shoppers looking for a
                                                           single app that better unites services and features
                                                       instead of switching between apps, Klarna is optimally
                                                             positioned to become the world’s favorite way to
                                                                                          shop, pay and bank.
                                                                                                     David Sandström
                                                                                               Chief Marketing Officer
                                                                                                               Klarna




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          Finance App Downloads by Country

                                                                                                                        FINANCE

                              Worldwide
                                Worldwide


6.0B
                                                                                                                        Finance App Downloads
5.5B                                                                                                                    in India Surpassed 1B in 2021,
5.0B                                                                                                                    Fueling the 28% YoY Increase
4.5B
                                                                                                                        in Finance App Downloads
4.0B

3.5B
                                                                                                                        Worldwide to 5.9B
3.0B                                                                                                                    Although not the largest markets globally, Mexico, Indonesia,
                                                                                                                        Argentina, and Brazil saw the largest growth over the past 4 years,
2.5B                                                                                                                    up 250%, 185%, 180% and 175%, respectively.

2.0B                                                                                                                    In Latin America, there is a substantial underbanked community as 70%
                                                                                                                        of their population does not have a bank account and nearly 80% does
1.5B                                                                                                                    not have a credit card. Consumers are more willing to try alternatives
                                                                                                                        to retail banks, such as neobanks, which tend to be more accessible
1.0B                                                                                                                    to those without excellent credit and offer custom features better suited
                                                                                                                        for specific needs.
0.5B

                                                                                                                        Knowing high-growth areas is key for app publishers when
0
                                                                                                                        determining their expansion strategies. Compare Finance app
       2018                  2019                      2020                   2021
                                                                                                                        downloads over the years and track their market growth.

                                  Source: data.ai
              Note: Downloads across iOS, Google Play; China is iOS only


                                                                                                                                                                                                    23
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FINANCE
                                                                                                                        Top Finance Apps by MAU by Likelihood of Use


Embracing Innovation:                                                                                                                                 Australia
                                                                                                                                                        Australia


Gen Z Are Most Likely                                                                      Gen Z                            Millennials                                                   Gen X & Baby Boomers

to Use Neobanks and                                                                   1            Beem It                            Crypto.com                                                    Qantas Money


Cryptocurrency                                                                        2            Spriggy                            Swyftx                                                        My AMP


Trading Apps                                                                          3

                                                                                      4
                                                                                                   Splitwise

                                                                                                   Up Money
                                                                                                                                      Wise, ex TransferWise

                                                                                                                                      ING DIRECT Australia Banking
                                                                                                                                                                                                    BankSA

                                                                                                                                                                                                    Citibank Australia

                                                                                      5            Spaceship                          Humm                                                          Macquarie
Although retail banks are widely used by Gen X and Baby
Boomers, Gen Z are most likely to use trading apps and                                6            Coinbase                           Hsbc Australia                                                People's Choice Credit Union
neobanks across regions. In addition, they also prefer to
use money transfer apps such as Venmo, Cash App, and                                  7            Binance                            XE Currency                                                   Amex AU
Splitwise as they are increasingly comfortable using their
mobile phones as a form of payment instead of cash.                                   8            CoinSpot                           Western Union AU                                              Woolworths Money

Finance app publishers who wish to reach the next                                     9            Western Union AU                   Openpay                                                       Yahoo Finance
generation of mobile-savvy users should keep in mind
what they now come to expect: fast and simple money                                   10           Rest Super                         Splitwise                                                     Suncorp App
movement and financial flexibility that tailors to their needs.

Compare the top finance apps by active users                                                                      Source: data.ai Note: 2021, iPhones and Android phones; Top 10 Finance apps used per age group
                                                                                                                indexed among the Top 50 apps overall by MAU in the Finance category; Gen Z represented by those
across countries in data.ai.                                                                                     aged 16 -24; Millennials represented by those aged 25-44; Gen X and Baby Boomers represented by
                                                                                                                                                            those aged 45+




                                                                                                                                                                                                                                   24
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FINANCE                                                                                                                                           Top 5 Neobanks by Average MAU in 2021


Neobanks Gain in Popularity                                                                                                                                                                Worldwide
                                                                                                                                                                                             Worldwide


as YONO SBI, Nubank, and                                                                                                       55M


PicPay Each Saw >30% YoY                                                                                                       50M



Increase in Average MAU                                                                                                        45M




Worldwide
                                                                                                                               40M


                                                                                                                               35M


Most countries tend to use homegrown neobanks; Mexico is an exception,                                                         30M
where Brazil's Nubank topped the charts across both countries.
                                                                                                                               25M
In fact, Brazil is a hotspot for neobank adoption as it has a large population
that currently does not have relationships with retail banks; Nubank and                                                       20M

PicPay had the second and 3rd highest average MAU worldwide in 2021,
                                                                                                                               15M
while its C6 Bank and Banco PAN saw >200% growth in MAU YoY.
                                                                                                                               10M
In contrast, Australia's user base, for example, rely less on neobanks due to




                                                                                                                                                          000,500,45
the popularity of the advanced money movement capabilities within the




                                                                                                                                           000,348,04




                                                                                                                                                                        000,503,72




                                                                                                                                                                                                                      000,837,22




                                                                                                                                                                                                                                                   000,639,81
                                                                                                                                                                                                                                      000,206,91




                                                                                                                                                                                                                                                                 000,536,31
                                                                                                                                                                                     000,287,73



                                                                                                                                                                                                         000,567,41




                                                                                                                                                                                                                                                                              000,211,71
                                                                                                                               5M
region's existing retail banks.
                                                                                                                               0
Knowing the current offerings of existing finance apps and whether                                                                    YONO SBI                         Nubank                            PicPay                    Yono Lite SBI                Revolut

they serve the needs of the region's users is crucial for any finance
app publisher. Explore Brazil's Top Finance apps of 2021.                                                                                                                                         2020                2021

                                                                                                                                                                     Source: data.ai Note: iPhones and Android devices
                                                                                                                                                        Mydoh launched in May 2020 on iOS and in June 2021 on the Google Play Store.
                                                                                                                                                         Neo: BNC Bank launched in March 2021 across iOS and the Google Play Store.

                                                                                                                                                                                                                                                                                           25
                                               Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 27 of 74 Page ID #:879


                                                                                                                         Monthly Engagement Among the Top 10 Cryptocurrency
                                                                                                                                 Apps by Worldwide Downloads in 2021
FINANCE

                                                                                                                                                      2021                                           2020
PayPal Entered the                                                                                                                      13

Cryptocurrency Market in                                                                                                                12


2021; Binance & WazirX Saw
                                                                                                                                        11

                                                                                                                                        10


the Highest YoY Increase in                                                                                                             9




                                                                                                                         syaD evitcA egarevA
                                                                                                                                        8

Sessions Per User Worldwide                                                                                                             7

                                                                                                                                        6

                                                                                                                                        5
Although US-HQ'd publishers dominates the cryptocurrency space, taking
up half of the top 10 most downloaded cryptocurrency apps worldwide,                                                                    4
India was a rising contender in 2021.                                                                                                   3

                                                                                                                                        2
CoinDCX Investment made a splash despite only launching in Q4
2020 across iOS and Google Play stores. Within one year, it has reached                                                                 1
#9 worldwide in terms of the most downloaded cryptocurrency apps.                                                                       0
                                                                                                                                               0             58                 115                     173                     230
                                                                                                                                                                  Average Sessions per User
Although PayPal had the highest average MAU worldwide, Trust:
Crypto & Bitcoin Wallet, Binance, and WazirX saw the highest increase
in usage YoY; understanding the flexibility of their offerings that go                                                                             PayPal     Robinhood           Coinbase             Crypto.com
beyond trading cryptocurrency assets is crucial for any app publisher                                                                    Trust: Crypto & Bitcoin Wallet       Binance             CoinSwitch              WazirX
that tries to emulate their successful adoption worldwide. Compare
the top breakout cryptocurrency apps of 2021.                                                                                                               MetaMask        CoinDCX Investment

                                                                                                                        Source: data.ai Note: Downloads across iOS, Google Play; usage data on Android only. Average Sessions per
                                                                                                                         User represents the average number of sessions per active user in a given month throughout 2021. Average
                                                                                                                          Active Days represents the average days of use across all active users in a given month throughout 2021.
                                                                                                                                                 CoinDCX Investment was launched in Q4 2020 across iOS
                                                                                                                                                                 and Google Play Stores.
                                                                                                                                                                                                                                      26
                                                                                          Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 28 of 74 Page ID #:880


FINANCE



2021 Rankings by Market | Finance
                                                                                                                           AMERAMER
                                                                                                                                - Breakout
                                                                                                                                    - BreakoutDownloads
                                                                                                                                              Downloads



             United States                        Canada                                 Mexico                              Brazil            Argentina                   Colombia                 Chile                  Peru


 1

                Coinbase                  Wealthsimple Trade                      Bienestar Azteca                         Banco PAN              BNA            PROFIN- Préstamos de Crédito      Mi Banco             Fpay Perú



 2

              Crypto.com                        Crypto.com                                 Stori                       iti Itaú: pagar e    Billetera Santa Fe          Nequi Colombia             Mercado    iSolez-Préstamos cash en Perú
                                                                                                                             receber                                                                Pago



 3

              Google Pay                          Binance                                iFectivo                           C6 Bank              MODO                    Itaú Colombia             Mi Pass    Treinta - Gestión de tu pequeño
                                                                                                                                                                                                                          negocio


 4

                  Webull                         Coinbase                              YumiCash                              Nubank            Naranja X                     PayPal                 Muevo                 PayPal



 5

              Binance.US                         Shakepay                    Préstamos de crédito en                          Bitz              Binance          Treinta - Gestión de tu pequeño   Mi Banco               Tunki
                                                                                  efectivo cash                                                                              negocio                 Chile


Learn More: Uncover the Top Finance Apps by Change in Yearly Downloads
Source: data.ai Note: Combined iOS and Google Play; China is iOS only; MAU is across iPhones and Android phones; Market-
level rankings; Breakout defined as Year-over-Year growth in Downloads or average MAU
                                                                                                                                                                                                                                                27
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Retail
                                                                        At ASOS, our vision is to be the go-to global
                                                                      destination for fashion loving 20-somethings -
                                                                            the place that our target consumers turn
                                                                      to for fashion. Our apps are critical in helping
                                                                         us realise that vision - enabling us to create
                                                                               a place that's inspiring, engaging and
                                                                      entertaining - with the technical agility, global
                                                                      scale, and resilience to continuously innovate
                                                                        and personalise our offering to become the
                                                                       fashion best friend of each of our customers.

                                                                                                                     Vijay Ram
                                                                                              Head of Technology - Mobile Apps
                                                                                                                          ASOS




                                                                                                                                 28
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              Annual Hours Spent in Shopping Apps

                                                                                                                     RETAIL
                           Worldwide
                             Worldwide


110B
                                                                                                                     Time in Shopping
                                                                                                                     Apps Reached Over
100B

90B

80B                                                                                                                  100 Billion Hours
70B                                                                                                                  Spent Globally
60B
                                                                                                                     Time spent in Shopping apps rose 18% year-over-year,
50B                                                                                                                  with strong movement in fast fashion, social shopping,
                                                                                                                     and mobile-savvy big-box players.
40B
                                                                                                                     Among the countries with the fastest growth were
30B                                                                                                                  Indonesia, Singapore and Brazil at 52%,
                                                                                                                     46% and 45% growth YoY, respectively.
20B

10B                                                                                                                  Mobile shopping habits catalyzed during COVID-19
                                                                                                                     have solidified. Monitor peak shopping periods
0                                                                                                                    in data.ai.
       2018         2019                            2020                          2021


                               Source: data.ai
                            Note: Android Phones




                                                                                                                                                                              29
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RETAIL

                                                                                                             Going Global: Share of Shopping Downloads by
Overseas Brands                                                                                                        Overseas-HQ'd Publishers


Grow International                                                                             AMER                                              APAC                                             EMEAR


Footprint, Growing                                                            90%

                                                                                         83%     84%

Market Share by 11%                                                           80%

                                                                                                                 72%
                                                                                                                          78%
                                                                                                                                                 75%        75%


in Some Regions
                                                                              70%

                                                                              60%

APAC-HQ'd shopping apps have grown international                                                                                                                                            52%
                                                                              50%
downloads, shifting market share to non-native-based
brands in many regions. Across AMER, overseas                                 40%                                                                                                  41%
publishers grew in share of downloads. In the US,                                                                                                                                                            34%
however, the mobile shopping market continued to be                           30%                                                                                                                     29%
dominated by US-based brands (66% share), with only
34% from non-domestic brands.                                                 20%

Still, US-based apps lost 5% share of downloads to                            10%
overseas publishers, driven by China, Canada, Australia,
and Japan. In Brazil, Overseas-HQ'd apps dominated 52%                        0
of all shopping app downloads in 2021, an increase in                                      Mexico                 Argentina                        Canada                               Brazil       United States
share of 11% YoY.
                                                                                                                                            2020            2021
Retail brands are losing share to non-local companies,
most notably in regions across AMER as shoppers turn
                                                                                                                                              Source: data.ai
to overseas-HQ'd Shopping apps. Evaluate which of the                                                                   Note: Downloads across iOS and Google Play; China is iOS only
top companies are driving shifts in market share.

                                                                                                                                                                                                                     30
                                                                                 Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 32 of 74 Page ID #:884



                                                                                                                                                              RETAIL
                     Growth in Sessions Spent in Shopping Apps in the US
                                During "Prime Day" Deal Period
                                                                                                                                                              Competing "Amazon
                                                                                                                                                              Prime Day" Events
160%



140%
                                                                                                                                                              Spurred Sessions
120%
                                                                                                                                                              Growth by 20% for
100%                                                                                                                                                          Walmart & Smaller
80%                                                                                                                                                           Savvy Players
                                                                                                                                                              While Prime Day was started by Amazon, nearly all major
60%
                                                                                                                                                              retailers piggyback with rival events as they compete for
                                                                                                                                                              share of wallet. This year, Amazon held Prime Day 2021
40%                                                                                                                                                           in June (6/21 - 6/22) vs the October event period that was
                                                                                                                                                              held last year, and competitive retailers followed suit.

20%                                                                                                                                                           Walmart held their first "Prime Day" event in 2020 called
                                                                                                                                                              the "Big Save Event", which ran parallel to Amazon Prime
0
                                                                                                                                                              Day's 10/13 - 10/14 event. Because of its success, Walmart
       Bed Bath &     Petco                   Chewy                   Walmart                   Target                  Amazon   eBay
                                                                                                                                                              ran "Deals for Days" in 2021 alongside Prime Day and saw
        Beyond                                                                                                                                                20% more sessions than the year before. Similarly, Target
                                                                                                                                                              announced Target Deal Days, and Chewy hosted their
                                               % Change 2021 Event vs. 2020 Event                                                                             Blue Box Event sale.

                       Source: data.ai Note: Android Phones. Among select retailers that held a "Prime Day competitive                                        Dive into our creative data to see how other players
                    savings event" in 2021. Data reflects the 2-day event period only, based on Amazon's official Prime Day
                                             event dates (6/21-6/22 in 2021 and 10/13-10/14 in 2020)
                                                                                                                                                              promote on mobile surrounding high traffic retail
                                                                                                                                                              holidays.
                                                                                                                                                                                                                           31
                                                                                            Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 33 of 74 Page ID #:885



RETAIL



2021 Rankings by Market | Shopping
                                                                                                                           AMERAMER
                                                                                                                                - Breakout
                                                                                                                                    - BreakoutDownloads
                                                                                                                                              Downloads



                Worldwide                  United States                    Canada                             Mexico                   Brazil            Argentina          Colombia                 Chile            Peru


 1

                  Meesho                     Blush Mark                       Nike                             Shopee                  SHEIN                GELT                 Shopee              Shopee         AliExpress



 2

                  Shopee                        SHEIN                       Triangle                             Nike               Facily | Social    Alibaba.com          Alibaba.com             Paris app       Alibaba.com
                                                                                                                                     Commerce



 3

                   SHEIN                       Afterpay           Honey Smart Shopping                 hibobi-enrich baby's            Shopee         Plus La Anónima        AliExpress               Fazil            Fazil
                                                                        Assistant                           childhood


 4

               Alibaba.com                      Klarna                         Etsy                          Claro shop                 enjoei            LootBoy                SHEIN                Lider         RipleyPago



 5

          AJIO Sh              A                Aﬃ                                    d                     Al b b                   Al E                 Sh ll B       Trendier – Sell n' buy   Spid35: Miles de     B    U

Learn More: Uncover the Top Shopping Apps by Change in Yearly Downloads
Source: data.ai.Note: Combined iOS and Google Play; China is iOS only; MAU is across iPhones and Android phones; Market-
level rankings; Breakout defined as Year-over-Year growth in Downloads or average MAU.


                                                                                                                                                                                                                                  32
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Video
Streaming




                                                                                                 33
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                                                                                                                                                          VIDEO STREAMING

                                         Growth in Total Hours Spent Streaming
                                                     2021 vs 2019
                                                                                                                                                          Total Hours Spent
100%

80%
                                                                                                                                                          Watching Video
60%
                                                                                                                                                          Streaming Apps Grew
40%                                                                                                                                                       32% Worldwide Since
20%
                                                                                                                                                          Pre-Pandemic Levels
0
                                                                                                                                                          Most countries in Asia saw growth in time spent among
-20%                                                                                                                                                      the top 20 video streaming apps, continuing the momen-
                                                                                                                                                          tum first seen during the initial stage of the global pan-
-40%
                                                                                                                                                          demic. Conversely, in China, video streaming apps saw
-60%
                                                                                                                                                          substantial declines as consumers increasingly gravitated
                                                                                                                                                          towards short-form video apps; TikTok and Kwai saw total
                                                                                                                                                          time spent in app grow by 205% and 225% since 2019,
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                                                                                                                                                          Indonesia, Japan, and India saw the highest increases in
                                                                            in
                                                                               U
                                         Growth in Total Hours Spent on Short-Form Streaming
                                                                                                                                                          total hours spent across their video streaming apps in
                                                      Apps in China, 2021 vs 2019
                                                                                                                                                          2021, with YouTube being the primary driver of growth.

                                                                                                                                                          Despite access to bigger screens, consumers are still
                                                                                                                                                          watching content on mobile. Competition is heating up
                                                      Kwai: +225%              TikTok: +205%                                                              in the space and exclusive content is a way of drawing
                                                                                                                                                          in new viewers. Keep track of the rapidly changing
                                                                      Source: data.ai                                                                     industry in data.ai.
                                          Note: Time spent on Android phones among top 20 video streaming apps
                                                         by time spent; worldwide excludes China

                                                                                                                                                                                                                       34
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VIDEO STREAMING                                                                                             Downloads and Active Users Growth for Select Exclusive
                                                                                                           Content Releases, United States 30 Days Prior to Release vs
Exclusive Content                                                                                                                 30 Days After


Releases Drive Spikes                                                                                   Downloads Change                                                               Average DAU Change


in Video Streaming                                                                           60%

App Downloads
Amidst Increased
                                                                                             50%




Competition in 2021
                                                                                             40%



                                                                                             30%
As more people were forced indoors due to COVID-19
and continuing to remain at home throughout 2021,                                            20%
demand for video streaming apps surged. To remain
competitive, providers leveraged exclusive content
releases to capture market share.                                                            10%


The launch of Made for Love (TV Series) coincided with a                                     0             61%                52%                 44%                  40%                 39%                    34%                6%
61% increase in downloads of the HBO Max app, while




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Squid Game's release in September 2021 saw a 6% boost




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for Netflix app downloads.




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The demand among viewers for exclusive content




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is stronger than ever. Knowing what original content




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resonates with the target audience is crucial to staying
ahead in an increasingly crowded space. Compare US-
based video streaming app downloads.                                                                                                                      Source: data.ai
                                                                                                                         Note: Downloads across iOS, Google Play. MAU is across iPhones and Android phones
                                                                                                                                  Average DAU represents the average Daily Active Users of an app

                                                                                                                                                                                                                                              35
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VIDEO STREAMING                                                                                                                                              Number of Countries With Over 1 Million Lifetime
                                                                                                                                                             Downloads Among Select Top Streaming Apps

Global Expansion                                                                                                                    60

Heats Up: Netflix Set
to Surpass 1 Million
Downloads in Over                                                                                                                   40




                                                                                   sdaolnwoD emitefiL M1 gnideecxE seirtnuoC fo #
60 Countries in 2022
Netflix has the largest global footprint among video
streaming platforms and a robust audience in each:
with over 1 million local downloads in 60+ countries.                                                                               20

Disney+ rivals Amazon Prime Video's global footprint,
despite launching 7 years later on mobile.

Exclusive content, strategically timed releases, and
overseas expansion are fuelling growth in the video
streaming sector — a mobile-first strategy is needed                                                                                0
to succeed.                                                                                                                              2018 H1   2018 H2      2019 H1    2019 H2           2020 H1          2020 H2           2021 H1   2021 H2   2022 H1 F


Track lifetime downloads and monitor the global                                                                                                                      Amazon Prime Video              Disney+          Netflix
strategies among top players in your competitive
set.                                                                                                                                                                                    Source: data.ai
                                                                                                                                                                            Note: Downloads across iOS, Google Play




                                                                                                                                                                                                                                                                36
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VIDEO STREAMING




2021 Rankings by Market | Video Streaming
                                                                                                                           AMER - Downloads
                                                                                                                              AMER - Downloads


              Worldwide                     United States                      Canada                           Mexico                Brazil             Argentina             Colombia              Chile                Peru


 1

                YouTube                         YouTube                        YouTube                          Disney+               Netﬂix              Disney+              Disney+              Disney+              Disney+


 2

                 Netﬂix                          Netﬂix                Amazon Prime Video                        Netﬂix              Disney+               Netﬂix               Netﬂix               Netﬂix               Netﬂix


 3

        Amazon Prime Video                     HBO Max                          Disney+                         HBO Max              Pluto.tv             Pluto.tv              Pluto.tv       Amazon Prime Video      BOOYAH Live


 4

                Disney+                         Disney+                          Netﬂix                         Tubi TV         Amazon Prime Video   Amazon Prime Video   Amazon Prime Video       HBO Max               Pluto.tv


 5

             YouTube Kids                         Hulu                           Twitch                         Pluto.tv            Globo Play             Twitch                 VIX                Twitch         Amazon Prime Video

Learn More: Uncover the Top Video Streaming Apps by Downloads
Source: data.ai Note: Combined iOS and Google Play; China is iOS only; Market-level rankings.
Video Streaming Apps custom categorized from the Entertainment, Photo & Video, News, Sports, News & Magazines
and Video Editors & Players categories across iOS and Google Play



                                                                                                                                                                                                                                         37
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Food & Drink

                                                                         From grocery, alcohol, and convenience to
                                                                     morning coffee runs, we’re focused on making
                                                                         Uber Eats reliable, flexible and easy to use.
                                                                       Trusted data points from sources like data.ai
                                                                     help us to measure that success and refine our
                                                                                           mobile strategy over time.

                                                                                                    Pierre Dimitri Gore-Coty
                                                                                                             SVP of Delivery
                                                                                                                        Uber




                                                                                                                               38
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FOOD & DRINK                                                                                                           Quarterly Sessions Spent in Food & Drink
                                                                                                                                Apps Growth Over Time
New Record: Sessions
in Food & Drink Apps
                                                                                              AMER                               APAC                                    EMEAR                             Worldwide



Reached 62 Billion                                                              5.5B
                                                                                5B

                                                                                4.5B
The pandemic expedited usage of Food & Drink apps
across the world. Despite concerns for a slowdown                               4B
following regional re-openings, an increase in both supply                      3.5B
and in demand pushed market growth further than ever.
Globally, users spent 49% more sessions YoY in 2021                             3B
in Food & Drink apps.                                                           2.5B

                                                                                2B
After facing a decline in user sessions in India in Q2 2020
due to logistics issues arising from the pandemic, India                        1.5B
bounced back to 12.1 billion sessions in Q4 2021.                               1B

Several regions drove high growth in Q4, including:                             0.5B
The US (42% YoY), Russia (154% YoY), Turkey (75% YoY),                          0
and Indonesia — who saw over 9x growth YoY —




                                                                                           1Q


                                                                                                  2Q


                                                                                                           3Q


                                                                                                                  4Q


                                                                                                                           1Q


                                                                                                                                  2Q


                                                                                                                                            3Q


                                                                                                                                                    4Q


                                                                                                                                                                1Q


                                                                                                                                                                         2Q


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surpassing user sessions in China.



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Fostered by new players, partnerships, delivery, quick-                                                                                               Quarter



fulfilment, user demand continued to increase through-
out the year, with users spending more sessions than                                                              Argentina        Brazil        Canada              Mexico          United States
ever in Q4. Dive deeper in data.ai's market level report
to see how downloads and sessions stack up.
                                                                                                                                                 Source: data.ai
                                                                                                                                              Note: Android Phones



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                                                                                 Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 41 of 74 Page ID #:893




    Top Keywords by iOS Search Volume                                                                                     FOOD & DRINK
        Among Food & Drinks Apps

                                Brazil
                                  Brazil                                                                                  Established Markets: QSR
                                                                                                                          Terms & Delivery Dominated
restaurantes                                                                                                              the Top Searches in 2021
   comida
     ifood
                                supermercado                                                                              In established markets, users tend to search for branded keywords. In
                                                                                                                          emerging markets for mobile Food & Drink, brand awareness remains an
                                                            subway                                                        opportunity.

food
        mcdonalds                                                                                                         For many categories on mobile, branded keywords top the charts by app
                                                                                                                          store search traffic. In this case, what users wanted, they searched for. In


         delivery
  happy                                                                                                                   established markets such as the US, UK, and France, branded food delivery
                                                                                                                          keywords ranked among the top terms, followed by QSR brand names. Top
                                                                                                                          searches in Indonesia, one of the fastest growing markets for food and drink
           burger king                                                                                                    apps, were almost exclusively QSR (8 of 10).

                                                                                                                          Generic keyword opportunities within ASO surfaced in many other markets —
                                                                                                                          in 2021, user searches for "food", "delivery" and "coffee" were on the rise.
                            FOOD DELIVERY                                                                                 “Food” was a top 5 keyword in several regions, ranking as the #1 searched
                          QSR & FAST-CASUAL                                                                               keyword in Canada, Mexico, and Australia, and at #2 in Turkey and #3 in
                         GENERIC KEYWORDS
                                                                                                                          Brazil.
                 DISCOVERY / REWARDS / RECIPES
                                                                                                                          Use the Keyword Search report to understand where competitors
                                                                                                                          stack up for the top organic keywords in each country.
  Source: data.ai Note: Top 10 keywords searched on iPhone within each region,
             ranked by average est. keyword search volume in 2021



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                                                        Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 42 of 74 Page ID #:894



FOOD & DRINK                                                                                               Trend Spotlight: Rapid Delivery Apps See Strong Growth in
                                                                                                                        Quarterly Downloads Worldwide

International Launches                                                           7M

& Recent Acquisitions                                                            6M

Drive Rapid Growth for
10-Minute Delivery
                                                                                 5M


                                                                                 4M
In 2020, consumers wanted delivery. In 2021, consumers
wanted delivery...now. Hyper-fast grocery delivery apps                          3M
grew at speeds faster than their delivery times.

Turkish delivery company Getir hit nearly 7 million                              2M
downloads worldwide in Q4 2021, up 105% from Q1 -
driven by international expansion. After making their first
                                                                                 1M
acquisition in July to expand into Spain and Italy, Getir
acquired UK-based rival Weezy in November just weeks
before starting operations in the US — wrapping up 2021                          0
with services in Chicago, NYC, and Boston.

DE-based Gorillas and Flink are among several rapidly                            -1M
growing players both reaching over 1 million global                                             Q1 2021                         Q2 2021                                   Q3 2021          Q4 2021
downloads in Q4.
                                                                                                                        getir        Gorillas           Flink: Lebensmittel in 10min
Dive into emerging trends and players even further.
Use data.ai to help uncover new and emerging
competitors driving global growth within rapid delivery.                                                                  Source: data.ai Note: iOS and Google Play combined; Select top
                                                                                                                               delivery apps marketed as having "10-minute delivery"


                                                                                                                                                                                                     41
                                                                                               Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 43 of 74 Page ID #:895


FOOD & DRINK



2021 Rankings by Market | Food & Drink
                                                                                                                     AMERAMER
                                                                                                                          - Downloads
                                                                                                                              - Downloads



             Worldwide                United States                Canada                        Mexico                Brazil              Argentina              Colombia                  Chile                Peru



 1

              UberEATS                   DoorDash                Tim Hortons                      Rappi          iFood Delivery de         PedidosYa           iFood Colombia             PedidosYa            PedidosYa
                                                                                                                     Comida



 2

               Zomato                   McDonald's               McDonalds                      DiDi Food         McDonald’s App        McDonald’s App              Rappi                   Rappi                Rappi
                                                                  Canada



 3

         McDonald's App                  UberEATS                 UberEATS                      UberEATS           Zé Delivery de         Burger King               OLIO                  UberEATS              Bees U
                                                                                                                      Bebidas              Argentina



 4
         foodpanda - food                    Yelp                 DoorDash                     Dominos MX              Rappi                 Rappi             McDonald’s App       Papa Johns Pizza Chile     Wabi Casa
             delivery



 5

              DoorDash                    Grubhub              SkipTheDishes             Burger King Mexico          UberEATS              Wabi Casa              DiDi Food            McDonald’s App        McDonald’s App
                                                                                               Nuevo

Learn More: Uncover the Top Food & Drink Apps by Yearly Downloads
Source: data.ai Note: Combined iOS and Google Play; China is iOS only; Market-level rankings

                                                                                                                                                                                                                              42
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Health & Fitness
                                                                In 2021, mobile apps became more integrated in
                                                               our daily lives as people aimed to enrich their lives
                                                               while staying at home amidst Covid-19. We believe
                                                                  this trend will continue as mobile apps become
                                                               more tailored to meet individual consumer needs.
                                                                  In the healthcare domain, we believe that more
                                                                   people will be using smartphones, tablets, and
                                                                            wearable devices even more for health
                                                                            management, diagnosis, and treatment.
                                                                                                       Takuma Ishibashi
                                                                                                      Executive Director,
                                                                                                          Eisai Co., Ltd..




                                                                                                                             43
                                                                                Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 45 of 74 Page ID #:897



                              Quarterly Health and Fitness App
                                   Downloads by Country
                                                                                                                                          HEALTH & FITNESS

                                                Worldwide
                                                  Worldwide


900M
                                                                                                                                          Global Health & Fitness
800M
                                                                                                                                          App Downloads Surpassed
                                                                                                                                          Pre-Covid Levels in 2021
                                                                                                                                          as Health & Wellbeing Are
700M




                                                                                                                                          Top of Mind 2 Years Into
600M




                                                                                                                                          the Pandemic
500M



400M

                                                                                                                                          Worldwide downloads of Health and Fitness apps remained high
300M                                                                                                                                      despite seeing a slight softening from a pandemic-induced high in
                                                                                                                                          2020 for most countries. While China and the United States were
200M
                                                                                                                                          two markets that did not see their 2021 download volumes
                                                                                                                                          surpass pre-pandemic levels in 2018, there were still areas of
                                                                                                                                          download growth. Despite this, meditation, fitness and mental
100M                                                                                                                                      health apps saw sustained popularity YoY.

0
                                                                                                                                          Mobile is a pulse check of consumer sentiment. Health, fitness
                                                                                                                                          and mental wellbeing are top of mind for consumers. Monitor
         1Q

                2Q

                         3Q

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                                                                    1Q

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                                                     Source: data.ai
                                 Note: Downloads across iOS, Google Play; China is iOS only


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                                                     Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 46 of 74 Page ID #:898



                                                                                                  Average Age Group Index Among Top Health & Fitness Apps Per Country
HEALTH & FITNESS                                                                                                        Index >100 Skews Towards Demographic Group

                                                                               120

Walking & Fitness                                                              100

Apps are Most Popular                                                          80


Among Older Groups,                                                            60
                                                                                        United        Germany        United States            Canada            South Korea               France              Australia       Japan
While Meditation Apps                                                                  Kingdom


More Likely Used                                                                                                             Gen Z            Millennials             Gen X & Boomers



Among Gen Z                                                                                                               Top Apps by MAU by Likelihood of Use

                                                                                                                                                   Australia
                                                                                                                                                     Australia

The most differences in generational use of Health &
Fitness apps emerged in South Korea, with the least in                               Gen Z                                               Millennials                                                   Gen X & Baby Boomers
Germany.                                                                         1           Flo Period & Ovulation Tracker                        ABISHKKING Period Calendar                                     COVIDSafe

Gen Z users of Health & Fitness apps tend to be more                             2           Clue - Period Tracker                                 Check in TAS                                                   Coronavirus Australia
comfortable using apps that center around knowledge
empowerment and privacy, such as feminine health apps;                           3           Headspace                                             Bupa Australia                                                 Fitbit
they are also more willing to try mental-health focused
apps such as Headspace.                                                          4           ABISHKKING Period Calendar                            Medibank Mobile                                                Garmin Connect

                                                                                 5           Medibank Mobile                                       MyFitnessPal                                                   Check In CBR
This contrasts with Gen X & Baby Boomers, where
pedometer, walking and hiking apps tend to be more
popular. Compare demographics data across age
                                                                                                              Source: data.ai Note: 2021, Android phones; Average of Top 20 apps by MAU within the Health &
groups.                                                                                                     Fitness category; Gen Z represented by those aged 16 -24; Millennials represented by those aged 25-
                                                                                                                               44; Gen X and Baby Boomers represented by those aged 45+


                                                                                                                                                                                                                                          45
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     Consumer Spend & Downloads Among Top Most
        Downloaded Meditation Apps Worldwide
                                                                                                                       HEALTH & FITNESS

        Consumer Spend                                       Downloads
                                                                                                                       The Top 5 Downloaded
                                                                                                                       Meditation Apps Saw 25%
       Calm
                                                                                                                       Growth YoY in Consumer
                                                                                                                       Spend Following Record
                                                                                                                       Downloads in 2020
 Headspace



                                                                                                                       Meditation apps are becoming a fast-growing subcategory within
  Meditopia
                                                                                                                       Health and Fitness apps, accelerated by the global pandemic at the
                                                                                                                       start of 2020 that has since forced many to remain indoors as
                                                                                                                       lockdowns become the sudden norm.
Insight Timer
                                                                                                                       Calm remains the most downloaded meditation app both in 2020
                                                                                                                       and 2021 worldwide, with Headspace and Meditopia rounding out
                                                                                                                       the top 3. Although downloads softened in 2021, both Calm and
                                                                                                                       Headspace saw total time spent in their Google Play apps increase
  Daily Yoga
                                                                                                                       YoY by 12% and 15%, respectively.

            0      20M           40M          60M           80M         100M     120M                                  More time spent in app can translate to higher revenue despite
                                                                                                                       declines in app downloads. Compare time spent among meditation
                            2019           2020          2021                                                          apps to see how it correlates with revenue.

                                     Source: data.ai
                Note: Consumer Spend and Downloads across iOS, Google Play

                                                                                                                                                                                            46
                                                                                               Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 48 of 74 Page ID #:900


HEALTH & FITNESS



2021 Rankings by Market | Health & Fitness
                                                                                                                         AMERAMER
                                                                                                                              - Downloads
                                                                                                                                  - Downloads



              Worldwide                     United States                      Canada                      Mexico                  Brazil              Argentina              Colombia              Chile                      Peru



 1

           PeduliLindungi                   Planet Fitness                      AllTrails                 Imss Digital         Flo Period &           vacunatePBA        Coronapp-Colombia     Fitia - Nutrición   SIS: Asegúrate e Infórmate
                                                                                                                             Ovulation Tracker                                                    Inteligente



 2
        Home Workout - No                         Calm                           Fitbit                      Yana           Workout for Women:    Blood Pressure INFO    Workout for Women:       Betterﬂy                     Yana
           Equipments                                                                                                          Fit at Home                                  Fit at Home



 3

                  Mi Fit                     MyFitnessPal                   COVID Alert              Lose Weight App for    Lose Weight App for    Lose Weight App for              Yana       Muscle Booster      Lose Weight App for Women
                                                                                                          Women                  Women                  Women                                  Workout Tracker



 4

            Aarogya Setu                    Flo Period &                         Calm                Workout for Women:           Hryﬁne                  Yana            Home Workout - No         Calm              6 Pack Abs in 30 Days
                                          Ovulation Tracker                                             Fit at Home                                                          Equipments



 5
            Flo Period &                          Fitbit                    MyFitnessPal              Home Workout - No     Strava Running and            Mi Fit         Lose Weight App for        Yana            Fitia - Nutrición Inteligente
          Ovulation Tracker                                                                              Equipments               Cycling                                     Women


Learn More: Uncover the Top Health & Fitness Apps by Yearly Downloads
Source: data.ai Note: Combined iOS and Google Play; China is iOS only; Market-level rankings

                                                                                                                                                                                                                                                    47
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Social
                                                         Mobile augmented reality experiences are changing
                                                             the way we live, from how we communicate and
                                                         have fun to how we shop for and discover products.
                                                        With over 6 billion AR interactions on Snapchat every
                                                           day, these aren’t distant hopes; it's the new reality.
                                                            Thanks to the power of mobile, this cutting edge
                                                        technology is at the fingertips of everyone with a cell
                                                         phone right now, and as we look ahead to 2022, AR
                                                            will continue to evolve and grow in utility for both
                                                                                   consumers and businesses.

                                                                                                                       Chip Kanne
                                                                                              Head of North America Emerging Sales
                                                                                                                             Snap




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                                                                                                                                         Global Growth of Live Streaming Apps
                                                                                                                                                 Among Top 25 Apps
SOCIAL

                                                                                                                              Hours Spent                    Consumer Spend                            Downloads

All Eyes on Live Streaming:                                                                                            300B

Time Spent Grew 9x in 4 Years
— Cultivating the Deepest                                                                                              250B


Social Engagement
                                                                                                                       200B

 In 2021, time spent in the top 25 live streaming apps outpaced the social
 market overall year over year by a factor of 9 — YoY growth of 40%
 compared to all social apps at 5%.                                                                                    150B

 Live streaming apps are also driving consumer spend in Social apps
 as consumers 'tip' their favorite content creators — with global consumer
 spend in the top 25 live streaming apps in 2021 growing 6.5x from 2018                                                100B
 and 55% YoY.

 Social apps are the linchpin to connection in our mobile-first world.
 Live streaming apps are changing the game — providing opportunities                                                   50B
 for live shopping, content creator compensation, creative empowerment
 and the rise of authenticity in social apps. Keep on top of the latest
 social trends in data.ai.
                                                                                                                       0
                                                                                                                                       2018                     2019                     2020                      2021

                                                                                                                              Source: data.ai Note: Downloads and Consumer Spend across iOS, Google Play; China is iOS only.
                                                                                                                                                            Time spent is Android phones only


                                                                                                                                                                                                                               49
                                                                     Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 51 of 74 Page ID #:903




                         Average Monthly Hours Spent Per User
                           in Top 5 Social Apps by Total Time                                                                                      SOCIAL



                                                Worldwide
                                                  Worldwide
                                                                                                                                                   TikTok's Rocket Ship
20

18
                                                                                                                                                   Growth: YoY Growth
16                                                                                                                                                 Rates As High As 75%
14
                                                                                                                                                   TikTok was a standout winner in per user engagement
12
                                                                                                                                                   among the top 5 social apps commanding the most time
10
                                                                                                                                                   spent in 2021.

8                                                                                                                                                  It is notable that TikTok has seen the greatest in depth
                                                                                                                                                   of engagement over 4 years and had a standout year in
6                                                                                                                                                  2021, off the back of an already record-breaking 2020.
4
                                                                                                                                                   Meta properties in India benefited from the TikTok ban
2                                                                                                                                                  in 2021, with engagement deepening in both Facebook
                                                                                                                                                   and Instagram by 15% and 35% respectively.
0
     #1 Facebook   #2 WhatsApp                      #3 Instagram                        #4 TikTok         #5 Facebook                              Explore evolving engagement patterns, including
                    Messenger                                                                              Messenger                               average time spent, demographic base and cross-app
                                                                                                                                                   usage of top players to monitor how they are carving
                                     2018          2019          2020            2021                                                              out mindshare in 2022 and beyond.

                                                       Source: data.ai
                   Note: Android phones; Excluding business-management apps; Worldwide excluding China



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                                                   Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 52 of 74 Page ID #:904



                                                                                                                                                 Spotlight on Avatar Social Apps:
                                                                                                                                                     Worldwide Downloads

SOCIAL                                                                                                                      18M



Emerging Trend: Avatar Apps                                                                                                 16M



Tap Into Increasing Demand                                                                                                  14M


for Metaverses: Social, User-                                                                                               12M


Generated Content, Creativity                                                                                               10M


                                                                                                                            8M
Demand for avatar social apps has grown amidst interest in metaverses
in 2021, particularly H2.
                                                                                                                            6M
Among the 3 select avatar social apps including Litmatch, REALITY by
Wright Flyer and ZEPETO, downloads grew 160% YoY. Litmatch emphasizes
                                                                                                                            4M
matching with friends and using a simple avatar — highlighting the overlap of
growing demand for avatar-based apps, even without a metaverse
component — 2 converging trends. Litmatch saw downloads grow 405%                                                           2M
YoY amidst surging demand.
                                                                                                                            0
Creativity, creation and connection are at the core of growing interests




                                                                                                                                        1Q


                                                                                                                                                 2Q


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in 2022. Mobile is the pulse of the cultural zeitgeist. Monitor rising stars




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to be among the first to capture shifts in these trends.




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                                                                                                                                             Litmatch          REALITY by Wright Flyer                 ZEPETO

                                                                                                                                                                      Source: data.ai
                                                                                                                                                        Note: iOS and Google Play; China is iOS only


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                                                                                            Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 53 of 74 Page ID #:905




SOCIAL



2021 Rankings by Market | Social
                                                                                                                                AMERAMER
                                                                                                                                     - Downloads
                                                                                                                                         - Downloads



              Worldwide                      United States                         Canada                              Mexico              Brazil           Argentina            Colombia             Chile               Peru


 1

                  TikTok                           TikTok                           TikTok                             TikTok              TikTok             TikTok              TikTok              TikTok             TikTok


 2

               Instagram                        Facebook                          Instagram               WhatsApp Messenger             Instagram           Instagram           Facebook       WhatsApp Messenger WhatsApp Messenger


 3

               Facebook                         Instagram                Facebook Messenger                           Facebook       WhatsApp Messenger WhatsApp Messenger WhatsApp Messenger       Instagram           Facebook


 4

       WhatsApp Messenger Facebook Messenger                                     Facebook                             Instagram          Facebook            Facebook            Instagram           Telegram           Instagram


 5

                Telegram                         Snapchat                WhatsApp Messenger Facebook Messenger                            Telegram           Telegram            Telegram           Facebook            Telegram



Learn More: Uncover the Top Social Apps by Yearly Downloads
Source: data.ai Note: Combined iOS and Google Play; China is iOS only; Market-level rankings; Excluding dating apps



                                                                                                                                                                                                                                        52
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Travel
                                                                DiDi as a global leader in ride-hailing services,
                                                           continues to grow rapidly in international markets in
                                                            providing affordable ride-hailing and food delivery
                                                                services in 2021. data.ai is an integral analytics
                                                             platform for our marketing planning process. With
                                                                    its trusted mobile insights covering the app
                                                            landscape we are better equipped to optimize our
                                                                   user acquisition, retention and engagement
                                                              programs. It also helps us prioritize our roadmap
                                                                                    and plan new markets entry.

                                                                                                                       Ajay Kaul
                                                                                              Global Performance Marketing Head
                                                                                                                            DiDi




                                                                                                                                   53
                                                         Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 55 of 74 Page ID #:907


TRAVEL



Downloads of Travel                                                                                              Monthly Downloads of Travel & Navigation Apps


Apps Rebound by                                                                              AMER                            APAC                                      EMEAR                     Worldwide

20% in H2 driven by                                                            40M

Sharp Increases from                                                           35M


July — Dec 2021                                                                30M

                                                                               25M
The second half of 2021 showed positive trends for
travel on mobile. H2 2021 downloads hit 1.95 billion
                                                                               20M
worldwide, nearing pre-pandemic levels of 2.08 billion
in H2 2019.
                                                                               15M
According to Tripit.com, 82% of Americans traveled in
the Summer of 2021. During this time, the mobile travel                        10M
market saw activity closely aligned to levels in 2019.
In July 2021, travel apps reached 40 million downloads                         5M
in the US, the highest since August 2019.
                                                                               0
Several countries in Europe saw strong rebound rates in



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H2 2021 after loosening shelter-in-place restrictions and

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travel regulations. In fact, travel growth increased so                                                                                              Month



steeply over the peak summer season that downloads in
Germany, Turkey, and India were up 7%, 22%, and 5%                                                               Argentina       Brazil        Canada              Mexico        United States
compared to H2 2019, respectively.
                                                                                                                                                Source: data.ai
Identify the top apps driving growth within the                                                                                   Note: iOS and Google Play; China is iOS only

Travel & Navigation market.
                                                                                                                                                                                                             54
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                                                                                                           Monthly Sessions Spent in Select Rideshare Apps
TRAVEL                                                                                                           "Driver" vs. "Rider" Apps on Android


Drivers vs. Riders:                                                                                                            United  States
                                                                                                                                   United States-- Lyft
                                                                                                                                                   Lyft


Rideshare Supply &                                                            120M

Demand Dynamics                                                               100M

Differ Across Regions                                                         80M

Demand for rideshare apps has returned to normal levels,                      60M
even higher in some regions. In the US, Uber riders spent
nearly 212 million sessions in the app in December 2021.
                                                                              40M
Riders spend 3 sessions for every 1 driver session on Lyft
in the US, showing demand for on-demand transport. In                         20M
the UK, "supply" of available, active drivers was nearly
equal with demand from riders in 2021.                                        0




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Marketplaces face the balancing act of supply



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and demand in real time. Monitor mobile data




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to keep track of market movement.




                                                                                                    2
                                                                                                                                               Year




                                                                                                                                     Lyft         Lyft Driver

                                                                                                                                        Source: data.ai
                                                                                                                                     Note: Android Phones




                                                                                                                                                                55
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TRAVEL



2021 Rankings by Market | Travel
                                                                                                                      AMERAMER
                                                                                                                           - Downloads
                                                                                                                               - Downloads



              Worldwide                       United States                             Canada                   Mexico                   Brazil                        Argentina              Colombia          Chile           Peru


 1

            Google Maps                       Google Maps                            Google Maps              DiDi-Mobility               Uber                         DiDi-Mobility            inDriver         Waze           inDriver


 2

                  Uber                              Uber                               ArriveCAN                  Uber                   99Taxis                          Cabify              DiDi-Mobility   DiDi-Mobility   DiDi-Mobility


 3

                  Waze                               Lyft                                  Uber                  inDriver                 Waze                            Uber                   Waze            Uber            Waze


 4

            Google Earth                            Waze                                  Waze                Google Maps                inDriver              Transit Directions by Moovit      Picap          inDriver         Uber


 5

            Booking.com                           Hopper                             Google Earth                Airbnb               Booking.com                         SUBE                   Uber         Google Maps       Taxibeat



Learn More: Uncover the Top Travel Apps by Yearly Downloads
Source: data.ai Note: Combined iOS and Google Play; China is iOS only; Market-level rankings


                                                                                                                                                                                                                                              56
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Dating




                                                                                              57
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DATING

                                                                                                                   Consumer Spend on Dating Apps by Country
Worldwide Consumer
Spend on Dating Apps                                                                                                                      Worldwide
                                                                                                                                            Worldwide



Surged Past $4B in                                                               $4.5B



2021, Seeing a 95%                                                               $4.0B



Increase Since 2018                                                              $3.5B



Despite the Pandemic                                                             $3.0B


                                                                                 $2.5B
The unabated growth in consumer spend was primarily
driven by the US, Japan, the UK and China, the four largest
markets in 2021.                                                                 $2.0B


For the US, Germany, Indonesia, and Japan, consumer spend                        $1.5B
more than doubled since 2018. Despite its population size,
India is one region that saw declining consumer spend on
                                                                                 $1.0B
dating apps, although it is still up 18% since 2018. India is a
unique market where, although users of dating apps may not
be spending heavily, more than 75% of Indian daters have                         $0.5B
started going on hobby dates and more than 50% are thinking
of dating as a way to explore. Mobile is perfectly positioned                    0
to capture budding demand in this sector.                                                           2018                           2019                                   2020   2021

It is important for dating app publishers to know their
primary KPIs early, whether it is maximizing user acquisition                                                                                  Source: data.ai
or revenue. See how dating apps metrics changed year-                                                                            Note: Consumer Spend across iOS, Google Play
over-year in data.ai.
                                                                                                                                                                                        58
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                                                                                                                                                                                                               Top 5 Dating Apps Used as Ranked by
                                                                                                                                                                                                                     Generational Index, 2021
DATING
                                                                                                                                                                                                                 Index >100 Skews Towards Demographic Group


Users of Dating Apps                                                                                                                                                                                                                     Australia
                                                                                                                                                                                                                                           Australia


With Generationally-                                                                                                                                                        260

Unique User Bases                                                                                                                                                           240


More Likely to Skew
                                                                                                                                                                            220




                                                                            xednI remooB ybaB / lainnelliM / Z neG
                                                                                                                                                                            200

Male in Most Regions                                                                                                                                                        180




                                                                                                                 x e d nI r e m o o B y b a B / l ai n n elli M / Z n e G
Except for Australia
                                                                                                                                                                            160

                                                                                                                                                                            140

                                                                                                                                                                            120
Taimi, Hily, and Tinder tend to be more popular among
Gen Z in the US.                                                                                                                                                            100

                                                                                                                                                                            80
Gen X & Baby Boomers in North America and Australia
tend to use 'mobile-forced' dating apps; among those,                                                                                                                       60
Zoosk and Match.com tend to be popular. SCRUFF,                                                                                                                                   0   20             40              60              80                 100              120          140              160          180    200
Bermuda, and Plenty of Fish Online Dating bucked the                                                                                                                                  Male Leaning
                                                                                                                                                                                                                                                Male / Female Index
                                                                                                                                                                                                                                                                                                          Female Leaning
trend and saw popularity among Baby Boomers
despite being mobile-first providers.                                                                                                                                                                                    Gen Z            Millennial                  Baby Boomer

Compare dating apps across countries in data.ai.                                                                                                                                        Source: data.ai Note: 2021, iPhone and Android phones; Gen Z represented by those aged 16 -24; Millennials represented by
                                                                                                                                                                                          those aged 25-44; Gen X / Baby Boomers represented by those aged 45+; Top 5 Dating apps by Demographics Index (a
                                                                                                                                                                                          measure of demographic cohort compared to the overall population) among top 25 Dating apps by average MAU overall;
                                                                                                                                                                                                                   bubble size corresponds to average MAU of each demographic cohort




                                                                                                                                                                                                                                                                                                                                 59
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     Monthly Avg Active Days vs Data Usage per User Among                                                                               DATING

    Top 10 Dating Apps Worldwide by Consumer Spend in 2021
                                                                                                                                        Among the Top 10 Dating
           Average MB per User                                       Average Active Days
                                                                                                                                        Apps Worldwide by Consumer
                                                                                                                                        Spend, Most Apps Saw an
1,000

900

800                                                                                                                                     Increase in Usage Two Years
700

600
                                                                                                                                        Into the Pandemic
500
                                                                                                                                        The top grossing dating apps also tended to have high average MB per user,
400                                                                                                                                     signalling the rising popularity of using photos and videos to communicate.
                                                                                                                                        However, higher usage does not always correlate with higher consumer
300
                                                                                                                                        spend.
200
                                                                                                                                        Tinder saw a slight decline in average MB per user but saw a record-
100
                                                                                                                                        breaking $1.35B in consumer spend worldwide in 2021, maintaining its lead
0                                                                                                                                       thanks to a 35% increase YoY.
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                                                                                                                                        Tinder's pricing model works well among its large user base, with its free-to-
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                                                                                                                                        use model that charges users for extra features such as Boosts and Super
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                                                                                                                                        Likes included in in-app subscriptions and purchases. It even dynamically
                                                                                                   FO
                                                                                                  P




                                                                                                                                        adjusts its price based on the user's age - a proxy for demand.
                                                 2020            2021
                                                                                                                                        Understanding each dating app's target audience and user behavior
         Source: data.aiNote: Android phones only; Average active days per month; "Average Sessions per User                            is crucial to its success. Explore engagement and monetization strategies
          represents the average number of sessions per active user in a given month throughout year. Average
            Active Days represents the average days of use across all active users in a given month throughout
                                                                                                                                        in data.ai.
                                                          year.


                                                                                                                                                                                                                         60
                                                                                               Case 2:22-cv-00209-GW-MRW Document 46-4 Filed 03/28/22 Page 62 of 74 Page ID #:914



DATING



2021 Rankings by Market | Dating
                                                                                                                       AMERAMER
                                                                                                                            - Downloads
                                                                                                                                - Downloads



       Worldwide                    United States                        Canada                       Mexico                     Brazil                 Argentina                   Colombia       Chile           Peru


 1

          Tinder                         Tinder                           Tinder                       Tinder                    Tinder                   Tinder                     Tinder        Tinder         Tinder


 2

          Badoo                      Bumble App                       Bumble App                       Badoo                     Badoo                    Badoo                      Badoo         Badoo          Badoo



 3

          CuteU                          Hinge                            Hinge                     Bumble App                   CuteU                    happn             2Steps: Dating App &   Grindr         MeetMe
                                                                                                                                                                                    Chat



 4

             Azar                POF Online Dating                    POF Online                2Steps: Dating App &             Lamour           Match.com - Relaciones            SweetMeet      Lamour         CuteU
                                                                        Dating                          Chat                                              Serias



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Learn More: Uncover the Top Dating Apps by Yearly Downloads
Source: data.ai Note: Combined iOS and Google Play; China is iOS only; Market-level rankings


                                                                                                                                                                                                                                   61
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Other Industries
Embracing Mobile
                                                                                 data.ai continues to be one of our most
                                                                                   trusted tools and partners, helping us
                                                                                       keep an eye on market trends and
                                                                                  competitive benchmarks. Marketability
                                                                               from the game concept stage is a pivotal
                                                                                 strategic pillar at Rovio, so we continue
                                                                                      to work closely with data.ai on new
                                                                               features that help us in identifying market
                                                                                                              opportunities.
                                                                                                              Luis de La Camara
                                                                                                                   VP Marketing
                                                                                                                           Rovio




                                                                                                                                   62
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                                                                                                                                               SPORTS
                                      Hours Spent in Sports Apps

                                                                                                                                               Sports Rebounded
            AMER                     EMEAR                                APAC                      Worldwide
                                                                                                                                               in 2021: Tokyo
110M

100M
                                                                                                                                               Olympics & Return
90M                                                                                                                                            of Live Sports Drives
80M

70M
                                                                                                                                               Mobile Streaming
60M                                                                                                                                            Hungry for new content, eyes returned to sports
50M                                                                                                                                            in 2021. The UEFA Euro Tournament, the return
                                                                                                                                               of NFL and fantasy football in the US and the Cricket
40M                                                                                                                                            World Cup in APAC were in high demand following
30M
                                                                                                                                               a year with delays and limitations on live sports.

20M                                                                                                                                            Globally time spent in sports apps rebounded 30%
                                                                                                                                               from 2020 back to 2019's pre-pandemic levels. Countries
10M
                                                                                                                                               seeing the greatest rebounds included: Singapore
0                                                                                                                                              (+125%), Canada (+125%), Russia (+120%), Argentina
                                                                                                                                               (+105%), Indonesia (+90%), Australia (+85%) and the US
       81

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                 81

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                      12 1

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                            1/ 6

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       /2

            /4

                 /6




                              1/ 2

                              1/ 4



                              1/ 8

                              1/ 0

                              1/ 2
                               8

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                                6




                         Argentina     Brazil     Canada               Mexico    United States                                                 Monitor shifts in seasonality with data.ai.
                                                                                                                                               Benchmark your app against market trends
                                                                                                                                               to see if you are in-line with, out-pacing or falling
                                                   Source: data.ai
                                                Note: Android Phones                                                                           behind the market.


                                                                                                                                                                                                         63
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BUSINESS
                                                                                                                     Top Breakout Business Apps
                                                                                                            by Absolute Growth in Downloads 2021 vs 2020
The Great Resignation?                                                                                                                                           Worldwide
More Like The Mobile-
                                                                                                                                                                   Worldwide




Empowered Work                                                                 1          WhatsApp Business
Force                                                                          2          apna

Job searching platforms like Sonic and Apna were                               3          VssID
the #1 breakout apps by downloads in the UK and India,
respectively.                                                                  4          PhonePe for Business

Choosing to work for themselves: Delivery driver apps                          5          Kormo Jobs
like DoorDash Driver (#1 breakout business app in the
                                                                               6          Azure Authenticator
US seeing 60% growth YoY from an already high level
of demand in 2020), Deliveroo Rider (#7 breakout app                           7          AnyDesk
in the UK) and Baemin Riders (#3 in South Korea) saw
record levels of demand. Apps to empower individuals                           8          Documents Scanner
to earn extra money or work for themselves like
WhatsApp Business (#1 Worldwide) and GetNinjas in Brazil                       9          Uber Driver
(#2) also saw standout growth in demand as consumers
                                                                                          Forex Tutorials - Forex
turned to mobile for career freedom.                                           10
                                                                                          Trading Simulator

Monitor how consumer behavior manifests on mobile                                                                                  5M           10M            15M          20M   25M   30M   35M
with data.ai. Uncover opportunities, meet your
customer needs and identify nascent trends before
your competitors.                                                                                                                          Source: data.ai
                                                                                                                             Note: iOS and Google Play, China is iOS only




                                                                                                                                                                                                    64
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MEDICAL
                                                                                                                    Install Penetration & Open Rate Among
                                                                                                              Top COVID-19 Apps by Downloads Worldwide in 2021
Vaccine Rollout &
App Engagement                                                                        Percent of Population
                                                                                      Fully Vaccinated (2021)
                                                                                                                                                                        2021                                                        2020


Are Crucial Drivers                                                                                                             80%

of the Ongoing Effort
                                                                                                                                                     MySejahtera (Malaysia)


                                                                                                                                68%             Tawakkalna (Saudi Arabia)

to Combat Covid-19                                                                                                              62%                                HES (Turkey)

Each market has a unique way of handling the COVID-19                                                                           74%                  TousAntiCovid (France)
pandemic at the national level. In the UK, COVID-19 infor-
mation and vaccine cards were incorporated into the national                                                                     71%                      CovPass (Germany)
healthcare app (NHS). App downloads increased by >300%
YoY and open rate reached 81% in 2021 — showing a highly                                                                         71%                      Corona-Warn-App…
engaged user base despite a low install penetration.
                                                                                                                                44%                      Aarogya Setu (India)
Other regions have dedicated apps to help users keep track
of vaccine and COVID-19 information on the go. Malaysia's                                                                       58%                       Bluezone (Vietnam)
MySejahtera and Saudi Arabia's Tawakkalna saw the highest
install penetrations and open rates in 2021. Although India's                                                                   71%            NHS App (United Kingdom)
Aarogya Setu app saw the highest downloads, surpassing
100M since launch (April 2020), it saw declines in open rate                                                                                                                        0          20%            40%            60%       80%   100%
YoY. Not all regions have a unified nationwide app; in the
US, for example, it is state-led.                                                                                                                                                 Open Rate                Install Penetration

                                                                                                Source: data.ai Note: Android Phones only. Open Rate shows the percent of the install base that opened the app in the given
Compare how COVID-19 apps have empowered                                                        year for each respective country. Install Penetration shows the percent of devices with the Covid-19 app installed for the region
consumers to trace and connect.                                                                   where the app is based. CovPass was launched in June 2021 in Germany COVID-19 vaccination rate by country from Johns
                                                                                                                                             Hopkins University, December 31, 2021


                                                                                                                                                                                                                                                    65
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Top Apps & Games
                                                                                  2021 was a very interesting year with
                                                                              new privacy rules on iOS, changes in app
                                                                                store creatives moderation policy, and
                                                                              the emergence of new big players in the
                                                                              market of app promotion — representing
                                                                                a challenge for the industry as a whole
                                                                                and for us in particular. We're fortunate
                                                                                     that we don't have to solve these
                                                                                       industry headwinds alone, but in
                                                                                                 partnership with data.ai.
                                                                                                                Petr Abroskin
                                                                                                         CMO Search and Portal
                                                                                                                      Yandex




                                                                                                                                 66
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    TOP APPS & GAMES OF 2021



    2021 Rankings by Market | Top Apps
                                                                                                                               Worldwide
                                                                                                                                 Worldwide



DOWNLOADS                                                                                            CONSUMER SPEND                                                  MONTHLY ACTIVE USERS

1               TikTok                          Short Videos (Entertainment)                         1             TikTok         Short Videos (Entertainment)       1          Facebook    Social Networks (Social Media)

2               Instagram                       Media Sharing Networks (Social                       2             YouTube        Video Sharing (Entertainment)      2          WhatsApp    Communication (Social Media)
                                                Media)                                                                                                                          Messenger

3               Facebook                        Social Networks (Social Media)                       3             Tinder         Dating (Social Media)              3          Facebook    Communication (Social Media)
                                                                                                                                                                                Messenger

4               WhatsApp                        Communication (Social Media)                         4             Disney+        OTT (Entertainment)                4          Instagram   Media Sharing Networks (Social
                Messenger                                                                                                                                                                   Media)

5               Telegram                        Communication (Social Media)                         5             Tencent        OTT (Entertainment)                5          Amazon      E-Commerce (B2C) (Shopping)
                                                                                                                   Video

6               Snapchat                        Media Sharing Networks (Social                       6             piccoma        Comics (Books & Reference)         6          TikTok      Short Videos (Entertainment)
                                                Media)

7               Facebook                        Communication (Social Media)                         7             HBO Max        OTT (Entertainment)                7          Telegram    Communication (Social Media)
                Messenger

8               ZOOM Cloud                      Meeting (Business)                                   8             Google One File Management (Utility &             8          Twitter     MicroBlogging (Social Media)
                Meetings                                                                                                      Productivity)
9               CapCut                          Video Editing (Photo & Video)                        9             Twitch         Live Streaming (Entertainment)     9          Spotify     Music & Audio (Entertainment)

10              Spotify                         Music & Audio (Entertainment)                        10            BIGO LIVE      Live Streaming (Entertainment)     10         Netﬂix      OTT (Entertainment)


    Learn More: Uncover the Most Popular Apps By Market
    Source: data.ai Note: Downloads and consumer spend based on combined iOS App Store and Google Play. MAU based on
    Combined iPhone and Android Phone Monthly Active Users; Excluding pre-installed Apps. Market-level rankings


                                                                                                                                                                                                                             67
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TOP APPS & GAMES OF 2021



2021 Rankings by Market | Top Games
                                                                                                                                 Worldwide
                                                                                                                                   Worldwide



DOWNLOADS                                                                              CONSUMER SPEND                                                                     MONTHLY ACTIVE USERS

1             Free Fire                    Battle Royale (Shooting)                    1             ROBLOX                              Creative Sandbox                 1      PUBG MOBILE            Battle Royale (Shooting)
                                                                                                                                         (Simulation)

2             Subway Surfers               Runner (Action)                             2             Genshin Impact                      Open World RPG (RPG)             2      ROBLOX                 Creative Sandbox
                                                                                                                                                                                                        (Simulation)

3             ROBLOX                       Creative Sandbox                            3             Coin Master                         Luck Battle (Party)              3      Candy Crush Saga       M3-Saga (Match)
                                           (Simulation)
4             Bridge Race                  .io (Hypercasual)                           4             Honour of Kings                     MOBA (Action)                    4      Free Fire              Battle Royale (Shooting)

5             Candy Crush                  M3-Saga (Match)                             5             Candy Crush Saga                    M3-Saga (Match)                  5      Among Us!              Maﬁa/Betrayal (Party)
              Saga
6             PUBG MOBILE                  Battle Royale (Shooting)                    6             PUBG MOBILE                         Battle Royale (Shooting)         6      Ludo King              Board Game (Tabletop)

7             Ludo King                    Board Game (Tabletop)                       7             Pokémon GO                          Location RPG (RPG)               7      Minecraft Pocket       Creative Sandbox
                                                                                                                                                                                 Edition                (Simulation)

8             Hair Challenge               Action (Hypercasual)                        8             Uma Musume Pretty                   Idol Training Sim (Simulation)   8      Subway Surfers         Runner (Action)
                                                                                                     Derby
9             Among Us!                    Maﬁa/Betrayal (Party)                       9             Game For Peace                      Battle Royale (Shooting)         9      Call of Duty: Mobile   Team Deathmatch (Shooting)

10            Join Clash 3D                Action (Hypercasual)                        10            Homescapes                          M3-Meta (Match)                  10     Pokémon GO             Location RPG (RPG)


Learn More: Uncover the Most Popular Games By Market
Source: data.ai Note: Downloads and consumer spend based on combined iOS App Store and Google Play. MAU based on Combined iPhone and
Android Phone Monthly Active Users; Excluding pre-installed Apps. Market-level rankings



                                                                                                                                                                                                                                     68
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TOP APPS & GAMES COMPANIES OF 2021




2021 Rankings by Market | Top Companies - Apps
                                                                                                                              Worldwide
                                                                                                                                Worldwide



DOWNLOADS                                                                                                                                         CONSUMER SPEND
       Company                     HQ                                   Top Apps by Downloads                                                         Company                   HQ              Top Apps by Consumer Spend

1      Google                      United States                        Google Meet                                                               1   Google                    United States   YouTube

2      Meta                        United States                        Instagram                                                                 2   Match Group               United States   Tinder

3      ByteDance                   China                                TikTok                                                                    3   Tencent                   China           Tencent Video

4      Microsoft                   United States                        Microsoft Teams                                                           4   Disney                    United States   Disney+

5      InShot Inc                  China                                InShot                                                                    5   ByteDance                 China           TikTok

6      Alibaba Group               China                                Alibaba.com                                                               6   Amazon                    United States   Twitch

7      Amazon                      United States                        Amazon                                                                    7   AT&T                      United States   HBO Max

8      Tencent                     China                                Tencent Video                                                             8   Kakao Japan Corp          Japan           piccoma

9      ABISHKKING                  Hong Kong                            Free Video Downloader - Video Downloader App                              9   LINE                      Japan           LINE

10 NAVER                           South Korea                          B612                                                                      10 JOYY Inc.                  China           BIGO LIVE


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Source: data.ai Note: Combined iOS and Google Play; China is iOS only; Market-level rankings



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TOP APPS & GAMES COMPANIES OF 2021



2021 Rankings by Market | Top Companies - Games
                                                                                                                              Worldwide
                                                                                                                                Worldwide



DOWNLOADS                                                                                                                                  CONSUMER SPEND
        Company                                         HQ                                       Top Games by Downloads                         Company                    HQ              Top Games by Downloads

1       AppLovin                                        United States                            Project Makeover                          1    Tencent                    China           Honour of Kings

2       Voodoo                                          France                                   aquapark.io                               2    NetEase                    China           Fantasy Westward Journey

3       Azur Interactive Games                          Cyprus                                   WormsZone.io                              3    Activision Blizzard        United States   Candy Crush Saga

4       SayGames                                        Belarus                                  DOP 2: Delete One Part                    4    Playrix                    Ireland         Homescapes

5       ironSource                                      Israel                                   Bridge Race                               5    Zynga                      United States   Empires & Puzzles

6       Crazy Labs                                      Israel                                   Phone Case DIY                            6    Supercell                  Finland         Clash of Clans

7       Zynga                                           United States                            Hair Challenge                            7    Playtika                   Israel          BINGO Blitz

8       Tencent                                         China                                    8 Ball Pool                               8    Roblox                     United States   ROBLOX

9       OneSoft                                         Vietnam                                  1945 Air Forces                           9    Netmarble                  South Korea     Marvel Contest of Champions

10      Jinke Culture - Outﬁt7                          China                                    My Talking Tom Friends                    10   miHoYo                     China           Genshin Impact


Learn More: Uncover the Top Games Publishers Across Different Markets
Source: data.ai Note: Combined iOS and Google Play; China is iOS only; Market-level rankings



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